                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALBAMA


ALAN EUGENE MILLER,                 )
                                    )
      Plaintiff,                    )
                                    )
v.                                  ) Case No. 2:22-cv-506-RAH
                                    )
JOHN Q. HAMM, et al.,               )
                                    )
      Defendants.                   )

                            NOTICE OF APPEAL

      Notice is hereby given that Defendants in the above-styled cause hereby

appeal to the United States Court of Appeals for the Eleventh Circuit from the

memorandum opinion and order entered on September 19, 2022, granting Miller’s

motion for preliminary injunction and enjoining Defendants from executing Miller

by any method other than nitrogen hypoxia.

                                    Respectfully submitted,
                                    Steve Marshall
                                    Alabama Attorney General

                                    /s/ Beth Jackson Hughes
                                    Beth Jackson Hughes
                                    Alabama Assistant Attorney General
                                    Counsel for Defendants
                        CERTIFICATE OF SERVICE

      I certify that on September 20, 2022, I served a copy of the foregoing upon

counsel for the Plaintiff by filing the same via the Court’s CM/ECF system, which

shall cause the same to be electronically transmitted to: J. Bradley Robertson,

Stephen Spector, Daniel J. Neppl, Mara Klebaner, Marisol Ramirez, and Kelly

J. Huggins.


                                     Respectfully submitted,

                                     Steve Marshall
                                     Alabama Attorney General

                                     /s/ Beth Jackson Hughes
                                     Beth Jackson Hughes
                                     Alabama Assistant Attorney General
                                     Counsel for Defendants


OF COUNSEL:

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